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                IN THE UNITED STATES DISTRICT COURT FOR THE

                            DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                    8:06CR205
                              )
          v.                  )
                              )
DAVID GURROLA,                )                        ORDER
                              )
               Defendant.     )
______________________________)


          The Court has been advised that defendant wishes to

enter a plea in the above matter.          Accordingly,

          IT IS ORDERED that a Rule 11 hearing is scheduled for:

                 Friday, October 6, 2006, at 10:30 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.   The parties need additional time to finalize plea

negotiations.    Therefore, the ends of justice will be served by

continuing this case and outweigh the interests of the public and

the defendant in a speedy trial.          The additional time between

August 28, 2006, and October 6, 2006, shall be deemed excludable

time in any computation of time under the requirement of the

Speedy Trial Act.       18 U.S.C. § 3161(h)(8)(A) & (B).

          DATED this 31st day of August, 2006.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     _________________________________
                                        LYLE E. STROM, Senior Judge
                                        United States District Court
